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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

       UNITED STATES, et al.,

                            Plaintiffs,

             vs.
                                                               No. 1:23-cv-00108-LMB-JFA
       GOOGLE LLC,

                            Defendant.




                      GOOGLE LLC’S MOTION TO RESET TRIAL DATE

            PURSUANT TO Rule 40 of the Federal Rules of Civil Procedure, and Local Civil Rule

     7(G), Defendant, Google LLC, moves to reset the trial date on the following grounds:

            1.     On Friday, February 2, 2024, Plaintiffs filed a motion to accelerate a previously

     scheduled March 22, 2024, status conference and to propose a schedule that included a

     proposed trial commencement date of July 8, 2024. (Dkt. No. 517 at 3.) Although Google

     opposed other relief sought in Plaintiffs’ motion and intended to respond in a written filing,

     which Plaintiffs noted in their motion (Dkt. No. 517 at 2), Google was not intending to oppose

     the trial commencement date of July 8, 2024.

            2.     On Monday, February 5, 2024, the Court granted Plaintiffs’ motion in part by

     accelerating the date of the status conference to February 23, 2024. In that order, the Court

     also set a trial commencement date of September 9, 2024. (Dkt. No. 525.)

            3.     Respectfully, Google alerts the Court to a current scheduling conflict.

     Specifically, Google’s lead trial counsel, Karen L. Dunn, Esq. and William A. Isaacson, Esq.

     of the firm Paul, Weiss, Rifkind, Wharton & Garrison, LLP, are trial counsel of record for

     Defendants Qualcomm Inc., Qualcomm Technologies Inc., and Nuvia, Inc. (“Qualcomm”) in

     the matter ARM Ltd. v. Qualcomm Inc., et al, No. 1:22-cv-01146-MN (D. Del.). That case has


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     been set for a five (5) day jury trial commencing on September 23, 2024. Prior to this Court’s

     February 5, 2024 scheduling order, Qualcomm had already filed a motion to continue the

     September 23, 2024, trial to December 9, 2024, which the Plaintiff in that case has now

     opposed. In accordance with the rules in the District of Delaware, Qualcomm immediately

     notified that court and the opposing party of the conflict now presented. The Court in Delaware

     has not yet ruled.

            4.      Google also immediately notified Plaintiffs in this action and began the meet

     and confer process prior to filing this Motion.

            5.      Unless a continuance is granted in the ARM v. Qualcomm case, the September

     9 trial date in this case presents a trial conflict for Google’s lead counsel. While the parties

     might differ in their estimates of how long the jury trial in this case will be, they agree that it

     will be longer than two weeks.

            6.      To the extent the ARM v. Qualcomm court does not grant Qualcomm’s motion

     to move the trial date in that case, Google respectfully asks the Court to reset the date of U.S.

     v. Google so as not to conflict with the ARM v. Qualcomm trial and at a date convenient to the

     Plaintiffs and the Court.

            7.      Pursuant to Rule 40, the Court has “broad discretion” when scheduling a trial.

     See Clinton v. Jones, 520 U.S. 681, 706-07 (1997); see also Latham v. Crofters, Inc., 492 F.2d

     913, 914 (4th Cir. 1974) (discretion to grant continuance). To justify the adjustment of a trial

     date, the movant must show “good cause.” E.D. Va. Civ. R. 7(G). In scheduling matters for

     trial, “the District Court properly may give consideration to other demands upon the time and

     energies of counsel.” Freehill v. Lewis, 355 F.2d 46, 48 (4th Cir. 1965). Google respectfully

     submits that the trial conflict of its lead trial counsel constitutes good cause to adjust the trial

     commencement date of this action until after the expected conclusion of the ARM v. Qualcomm

     case in Delaware to the extent that the ARM v. Qualcomm court does not grant Qualcomm’s



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     motion to move the trial date in that case. Cf. U.S. v. Powell, 237 F. App’x 821, 824 (4th Cir.

     2007) (“We conclude that the district court properly granted the Government’s motion for an

     extension because Powell’s attorney’s scheduling conflicts during the seventy-day trial

     window contributed to the need for an extension.”); United States v. Daryl Bank, 2020 WL

     5913993, at *2 (E.D. Va. Oct. 6, 2020) (ordering continuance of trial where counsel for

     defendant was unavailable on date trial was scheduled to begin “given a scheduling conflict

     with a separate trial”).

             7.      Google has met and conferred with Plaintiffs, and Google includes the

     following statement requested by Plaintiffs: “Plaintiffs object to Defendant’s motion as

     premature until such time, if any, that the U.S. District Court in Delaware denies the pending

     request for an extension of the trial date in that matter. To the extent that the Delaware Court

     denies the pending request for an extension, Plaintiffs defer to this Court’s judgment as to how

     to balance the Plaintiffs’ objective in bringing this matter to prompt resolution against

     Defendant’s desire to have each of its trial counsel present for the entire duration of the trial.”

             WHEREFORE, Google respectfully requests that the Court reset the trial date when the

     parties meet with the Court on February 23, 2024.

             A proposed order is submitted herewith.

      Dated: February 9, 2024                             Respectfully submitted,

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